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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


              JOHN DOE,
                                                         Case No. 18-11776
               Plaintiff,
                                                   SENIOR UNITED STATES DISTRICT
                  v.                                 JUDGE ARTHUR J. TARNOW

  UNIVERSITY OF MICHIGAN, ET AL.,
                                                   MAGISTRATE JUDGE ELIZABETH A.
             Defendants.                                    STAFFORD



                                       /

  ORDER GRANTING IN PART AND DENYING IN PART PLAINTIFF’S MOTION FOR
    TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION [4]

      Plaintiff, John Doe, a student who has completed all of the requirements to

receive his undergraduate degree at the University of Michigan, has been accused of

sexual assault and faces a possible penalty of expulsion. In the midst of the

University’s investigation into his alleged conduct, Plaintiff commenced this 42

U.S.C. § 1983 action claiming, inter alia, that the University of Michigan’s Policy

and Procedures on Student Sexual and Gender-Based Misconduct and Other Forms

of Interpersonal Violence (“Policy”) deprives students of due process in violation of

the Fourteenth Amendment.

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      Before the Court is Plaintiff’s Motion for Temporary Restraining Order and

Preliminary Injunction [4] filed on June 5, 2018. Plaintiff argues that due process

requires that he be given a live hearing and the opportunity for cross-examination of

his accuser.

      For the reasons explained below, Plaintiff’s Motion for TRO [4] is

GRANTED in part and DENIED in part.

                              FACTUAL BACKGROUND

   I. Policy and Procedures on Student Sexual and Gender-Based Misconduct
      and Other Forms of Interpersonal Violence

      The Policy, enacted on February 7, 2018, governs claims of sexual assault on

campus. Where a student reports sexual misconduct to the University’s Office of

Institutional Equity (“OIE”), the Policy sets forth two resolution processes: 1) formal

resolution, involving an investigation, and where necessary, an appeal and sanctions;

and 2) alternative resolution. The formal resolution process is challenged here.

      Pursuant to the Policy, once a claimant files a report of an alleged violation,

the OIE investigator meets privately with the claimant and conducts an interview.

Thereafter, the accused is notified in writing of the start of an investigation. The

investigator meets separately with the accused, who may have an attorney or advisor

present. The investigator takes statements from both parties and asks them to identify

possible witnesses.
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      After the interviews, the investigator provides the accused with a draft

summary of his statement so he may comment and ensure its accuracy. The accused

may submit suggested questions to the investigator to be asked of the claimant or

other witnesses, but it remains within the investigator’s discretion to determine

whether and how to ask the questions.

      The investigator is responsible for reviewing the information provided by the

parties and determining its relevance and probative value. Once the parties have had

the opportunity to comment on their statements, identify witnesses, and submit

suggested questions, the investigator prepares a Preliminary Investigation Report.

The Preliminary Investigation Report includes a summary of all witness interviews,

but does not contain any findings. The parties are given a copy of the Report and

may comment and offer feedback.

      When the investigator has completed gathering evidence, she makes a

determination, by a preponderance of the evidence, as to whether the accused has

violated the Policy. No live hearing is held. The investigator drafts a final written

report (“Final Report”) summarizing her findings and rationale in support. The Final

Report is reviewed by the Title IX Coordinator and the Office of General Counsel

before it is given to the parties. The University strives to complete this entire process

within sixty days.

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      Either party may appeal the investigator’s findings. An external reviewer,

reviews the Final Report and the parties’ written submissions. If the external

reviewer determines that there are no issues of concern, he may affirm the

investigator’s findings. Alternatively, if he identifies any issues of concern, he may

remand or make necessary modifications to the report. The Policy authorizes the

external reviewer to reverse an investigator’s finding of no violation.

      Where a student is found responsible for violating the Policy, the University

imposes sanctions which may include: probation, suspension, expulsion, and

revocation of the student’s degree.

   II. Doe Investigation

      In April 2014, John Doe enrolled at the University as an undergraduate

student. Throughout his four-year tenure, Doe successfully completed the

University’s requirements for graduation in April 2018. During his senior year, Doe

was a Residence Advisor. On February 26, 2018, he was accepted to the University’s

College of Engineering Master’s Degree Program to begin in September 2018. He

has since been accepted to out-of-state graduate engineering programs as well.

      On March 20, 2018, a female student (“Claimant”) filed a complaint with the

OIE alleging that a non-consensual sexual encounter had occurred between her and

Doe on November 11, 2017. No witnesses were present.

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      Doe and Claimant had known each other prior to the sexual encounter in

November 2017. In the weeks that followed, they continued to speak to each other

via text and in person. Doe maintains that Claimant asked to have sex again and he

declined, telling her he just wanted to be friends.

      Defendant Suzanne McFadden, the OIE investigator, commenced an

investigation into the complaint. On March 29, 2018, she interviewed Claimant and

took notes contemporaneously. The interview was not recorded.

      On April 2, 2018, Doe received an email from the OIE stating that a report

had been filed against him. The report alleged the following conduct: “unwanted

oral, vaginal, and anal penetration without consent, at [] residence hall on November,

11, 2018 [sic].” The OIE informed Doe that it would investigate a potential policy

violation of sexual assault and that he may retain a support person, such as an

attorney.

      On April 3, 2018, McFadden interviewed Doe. During the interview, she

advised him of the allegations against him and asked him to identify witnesses and

other evidence.

      On April 11, 2018, McFadden provided Doe with a copy of his statement and

an opportunity to submit comments. Doe made comments on the same day. He also

provided McFadden with six additional witnesses and evidence.

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       McFadden interviewed three of Doe’s witnesses.1 She also interviewed two

other witnesses, presumably at Claimant’s request.

       On April 19, 2018, the University informed Doe that an administrative hold

had been placed on his student account, rendering him unable to register for classes

or receive a copy of his transcript.

       On May 24, 2018, McFadden issued an Executive Summary (Preliminary

Investigation Report). On May 29, 2018, Doe submitted 88-pages of feedback. On

May 31, 2018 and June 4, 2018, McFadden spoke with Claimant, over the phone

and via email, to ask additional questions. McFadden issued a Second Preliminary

Report on June 21, 2018. She has not yet made findings with respect to whether Doe

committed a Policy violation.

    III.   Procedural History

       On June 4, 2018, Doe, through counsel, commenced this action alleging that

the Policy violates the Fourteenth Amendment, Title IX, and Michigan’s Elliot-

Larsen Civil Rights Act. On June 5, 2018, Doe filed the instant Motion for TRO [4]

which asserts that the Policy deprives him of due process. On this basis, Plaintiff

requests that the Court immediately enjoin Defendants from: 1) withholding his



1
 Of the six proposed witnesses, one declined to participate and two did not respond
to McFadden’s request.
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official transcript and degree; 2) continuing their investigation, sanctions, and

appeals process; and 3) continuing to use the Policy and requiring Defendants to

provide all students the protections set forth in the Statement of Student Rights and

Responsibilities.

         On June 11, 2018, the Court held a telephone conference at which defense

counsel agreed to recommend to the University that it provide Doe with a copy of

his official transcript, pending the conclusion of the investigation. On June 14, 2018,

the Court issued an Order [19] granting in part Plaintiff’s Motion for TRO to reflect

the parties’ agreement with respect to the transcript.2 Defendants filed a Response

[21] to Plaintiff’s Motion for TRO on June 15, 2018. Plaintiff filed a Reply [23] on

June 19, 2018.

         On June 28, 2018, the Court held a hearing at which it ordered the University

to stay publication of its Final Report pending its ruling on Plaintiff’s Motion for

TRO.

                                        ANALYSIS

         Plaintiff seeks a preliminary injunction immediately enjoining Defendants

from continuing their investigation, sanctions, and appeals process under the Policy

and requiring Defendants to provide all students accused of sexual assault the


2
    Plaintiff received a copy of his undergraduate transcript on June 12, 2018.
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protections guaranteed in the University’s Statement of Student Rights and

Responsibilities.

   I. Plaintiff’s case is ripe for review

      As an initial matter, Defendants argue that Plaintiff’s claims fail because they

are not ripe for decision. According to Defendants, in the absence of a finding that

Plaintiff violated the Policy or University-imposed sanctions, Plaintiff has no due

process claim to be adjudicated.

      “[T]he ripeness requirement prevents courts from hearing premature or

abstract disagreements.” Platt v. Bd. of Comm’rs on Grievances & Discipline of

Ohio Sup. Ct., 769 F.3d 447, 451 (6th Cir. 2014) (internal citations omitted). “Three

factors guide the ripeness inquiry: (1) the likelihood that the harm alleged by the

plaintiffs will ever come to pass; (2) whether the factual record is sufficiently

developed to produce a fair adjudication of the merits of the parties’ respective

claims; and (3) the hardship to the parties if judicial relief is denied at this stage in

the proceedings.” Berry v. Schmitt, 688 F.3d 290, 298 (6th Cir. 2012) (internal

citation and quotation marks omitted).

      All three factors support a finding that this case satisfies the ripeness

requirement. First, Plaintiff, who may presently be without sufficient due process

protections, is at immediate risk of expulsion. Moreover, he has already suffered

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injury – sexual assault allegations may “‘impugn [his] reputation and integrity, thus

implicating a protected liberty interest.’” Doe v. Univ. of Cincinnati, 872 F.3d 393,

399 (6th Cir. 2017) (quoting Doe v. Cummins, 662 Fed. App’x 437, 445 (6th Cir.

2016)).

      Second, additional facts are unnecessary to fairly adjudicate the merits of

Plaintiff’s claims. The Court, having examined the Policy and the relevant case law,

is well-equipped to determine whether the Policy adequately protects Plaintiff’s due

process rights. Particularly for purposes of deciding this Motion, the record is

sufficiently developed.

      Finally, if the Court denies this Motion, but ultimately finds that the Policy

violates due process, Plaintiff will have been forced to defend himself against serious

sexual assault allegations without adequate constitutional safeguards.

      Defendants essentially ask the Court to sit back and wait for the investigator

to issue findings against Plaintiff before intervening in this action. But, at this very

moment, the University may be denying Plaintiff due process protections to which

he is entitled. The Court cannot, and will not, simply standby as the fruit continues

to rot on the tree. This case is ripe for adjudication.




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    II. Plaintiff is entitled to a preliminary injunction

       In evaluating a motion for a preliminary injunction, courts consider the

 following factors:

       (1) whether the movant has a strong likelihood of success on the merits;
       (2) whether the movant would suffer irreparable injury without the
       injunction; (3) whether issuance of the injunction would cause
       substantial harm to others; and (4) whether the public interest would be
       served by issuance of the injunction.

 Bonnell v. Lorenzo, 241 F.3d 800, 809 (6th Cir. 2001) (quoting Rock & Roll Hall of

 Fame v. Gentile Prods., 134 F.3d 749, 753 (6th Cir. 1998)). It is the plaintiff’s

 burden to prove that the circumstances clearly demand injunctive relief. Overstreet

 v. Lexington-Fayette Urban Cnty. Gov’t, 305 F.3d 566, 573 (6th Cir. 2002).

       A. Likelihood of Success on the Merits

       Plaintiff argues that he is likely to succeed on the merits of his claim that the

 Policy violates due process. Plaintiff submits that in cases such as this one, where

 the credibility of the parties is at stake, due process requires a live hearing and cross-

 examination.

       In the school disciplinary context, “[n]otice and an opportunity to be heard

 remain the most basic requirements of due process [but] [w]ithin this framework . .

 . the additional procedures required will vary based on the circumstances and the




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 three prongs of Mathews [v. Eldridge, 424 U.S. 319 (1976).]” Flaim v. Med. Coll. of

 Ohio, 418 F.3d 629, 635 (6th Cir. 2005).

       To determine “how much process is due,” courts consider the following

 factors: 1) how the private interest will be affected by the official action; 2) “the risk

 of an erroneous deprivation of such interest through the procedures used, and the

 probable value, if any, of additional or substitute procedural safeguards;” and 3) “the

 Government’s interest, including the function involved and the fiscal and

 administrative burdens that the additional or substitute procedural requirement

 would entail.” Mathews, 424 U.S. at 334-35.

       Additionally, the Sixth Circuit has explained that the accused must be given

 the opportunity to share his version of the events at some kind of hearing. Doe v.

 Univ. of Cincinnati, 872 F.3d at 399–400. The hearing need not be live, but must be

 meaningful and “provide the accused with the opportunity to respond, explain, and

 defend.” Flaim, 418 F.3d at 635 (internal citation and quotation marks omitted).

              i.     Private interest

       Plaintiff’s private interest at stake here is significant – he is at risk of expulsion

 and the revocation of his degree. Furthermore, in addition to its damaging effect on

 educational and employment opportunities, “[a] finding of responsibility for a sexual

 offense can have a lasting impact on [Plaintiff’s] personal life” and reputation. Doe

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 v. Univ. of Cincinnati, 872 F.3d at 400 (internal citation and quotation marks

 omitted).

              ii.   Risk of an erroneous deprivation and value of additional
                    procedural safeguards

       Plaintiff argues that he is entitled to additional procedures safeguards which

 include the opportunity to cross-examine witnesses at a live hearing. In Doe v. Univ.

 of Cincinnati, the Sixth Circuit recently addressed the issue of what procedural

 safeguards may be necessary to adequately protect a student’s right to due process

 in this context. In Doe, Jane Roe reported to the University of Cincinnati (“UC”)

 that John Doe had sexually assaulted her. 872 F.3d at 401. Doe maintained that the

 sex was consensual; Roe claimed it was not. Id. Following the investigation and

 interviews, a live hearing was held at which a panel, made up of students and faculty,

 heard the allegations, reviewed evidence, and questioned witnesses. Id.

       Roe did not appear at the hearing, but the Chair read Roe’s statement to the

 panel. Id. at 397. Because Roe was absent, neither Doe nor the panel had the

 opportunity to ask her questions. After the hearing and appeal, Doe was found

 responsible for violating UC’s sexual assault policy. Id.

       Doe moved for a preliminary injunction against UC, arguing that it could not

 constitutionally find him responsible for sexual assault without having had the

 opportunity to question or confront Roe. Id. at 398. The Sixth Circuit agreed,
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 explaining that “[c]ross-examination is ‘not only beneficial, but essential to due

 process’ in a case that turns on credibility because it guarantees that the trier of fact

 makes this evaluation on both sides.” Id. at 402 (quoting Flaim, 418 F.3d at 641).

       Here, Plaintiff appropriately notes that Doe requires a form of cross-

 examination in cases, such as this one, which involve credibility determinations. But,

 the problem the Sixth Circuit identified in Doe was that the panel made a credibility

 determination without having assessed Roe’s credibility. Id. at 402. Although the

 Sixth Circuit stressed the importance of cross-examination, it did not strike down

 UC’s policy of authorizing a “circumscribed form of cross-examination” that

 “involves submitting written questions to the [] panelists.” Id. at 396-97.

       While the Sixth Circuit has affirmed disciplinary procedures which provide

 for a hearing at which questions are asked of the claimant via panel, it has not ruled

 on whether a circumscribed form of cross-examination is constitutional in the

 absence of a live hearing. In fact, in this Circuit, nearly all other sexual misconduct

 policies that have been subject to judicial review provide the accused with the

 opportunity to appear at a live hearing. See, e.g., Doe v. Miami Univ., 882 F.3d 579,

 587 (6th Cir. 2018); Doe v. Univ. of Cincinnati, 872 F.3d at 400; Cummins, 662 F.

 App’x at 448; Flaim, 418 F.3d at 635; Doe v. The Ohio State Univ., 136 F. Supp. 3d

 854, 862 (S.D. Ohio 2016).

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       Unlike the policies which the Sixth Circuit has upheld, this Policy deprives

 Plaintiff of a live hearing and the opportunity to face his accuser. Because of the

 University’s method of private questioning through the investigator, Plaintiff has no

 way of knowing which questions are actually being asked of Claimant or her

 response to those questions. Without a live proceeding, the risk of an erroneous

 deprivation of Plaintiff’s interest in his reputation, education, and employment is

 significant. Additional procedural safeguards would both assist the truth-seeking

 process and help to ensure the protection of Plaintiff’s constitutional rights.

               iii.   Fiscal and administrative burden on the University

       The University uses a bifurcated system to address student misconduct. The

 Policy challenged here, which does not provide the accused with the opportunity to

 face his accuser at a hearing, governs sexual misconduct. The University’s Statement

 of Student Rights & Responsibilities, which does provide the accused the

 opportunity to appear at a hearing, governs non-sexual misconduct. Because the

 University already conducts hearings for students accused of misconduct at which

 they may question witnesses, requiring the University to hold live hearings for

 students accused of sexual assault would be neither fiscally nor administratively

 burdensome.




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              iv.    Plaintiff is likely to succeed on the merits

       Based on its assessment of the Mathews’ factors, and taking into considering

 the relevant circumstances of this case, the Court concludes that Plaintiff is likely to

 succeed on the merits of his claim that the University’s Policy, which affords neither

 a live hearing nor cross-examination, violates his right to due process.

       B. Irreparable Harm

       To demonstrate irreparable harm, Plaintiff must show that the harm is actual

 and imminent, as opposed to speculative or unsubstantiated. Abney v. Amgen, Inc.,

 443 F.3d 540, 552 (6th Cir. 2006). “A plaintiff’s harm from the denial of a

 preliminary injunction is irreparable if it is not fully compensable by money

 damages.” Overstreet, 305 F. 3d at 573.

       Where, as here, a plaintiff’s constitutional right to due process is “threatened

 or impaired” the Court may presume irreparable injury. Doe v. Univ. of Cincinnati,

 872 F.3d at 407. Plaintiff faces an immediate threat of expulsion, a penalty that could

 drastically curtail future educational and employment opportunities. See Doe v.

 Middlebury Coll., No. 1:15-CV-192-JGM, 2015 WL 5488109, at *3 (D. Vt. Sept.

 16, 2015). Money damages cannot compensate Plaintiff for the reputational harm he




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 has already suffered and will continue to suffer as a consequence of sexual assault

 allegations. Accordingly, this factor weighs in Plaintiff’s favor.

       C. Harm to others

       In considering the potential harm an injunction may impose on the University,

 the Court acknowledges the University’s strong interest in maintaining campus

 safety and disciplining students who have committed sexual misconduct.

       The Court also considers the emotional harm and trauma Claimant may suffer

 if the Court orders the University to provide a live hearing with questioning.

 “Allowing an alleged perpetrator to question an alleged victim directly may be

 traumatic or intimidating, thereby possibly escalating or perpetuating the same

 hostile environment Title IX charges universities with eliminating.” Doe v. Univ. of

 Cincinnati, 872 F.3d at 403 (internal citation and quotation marks omitted). The

 Court does not take lightly the potential implications for Claimant. Nonetheless,

 “[w]hile protection of victims of sexual assault from unnecessary harassment is a

 laudable goal, the elimination of such a basic protection for the rights of the accused

 raises profound concerns.” Id. at 404 (quoting Doe v. Brandeis University, 177 F.

 Supp.3d 561, 604-05 (D. Mass. 2016)).




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        Consequently, in determining whether relief is warranted, the Court endeavors

 to strike the appropriate balance between guaranteeing due process and mitigating

 harassment of Claimant. See Michigan v. Lucas, 500 U.S. 145, 150 (1991).

        D. Public Interest

        “The final factor, the public interest, primarily addresses impact on non-

 parties.” Hunter v. Hamilton Cnty. Bd. of Elections, 635 F.3d 219, 244 (6th Cir.

 2011) (internal quotation marks omitted). Protecting a person’s constitutional right

 to due process is always in the public interest. See Am. Civil Liberties Union Fund

 of Mich. v. Livingston Cnty., 796 F.3d 636, 649 (6th Cir. 2015) (“[W]hen a

 constitutional violation is likely . . . the public interest militates in favor of injunctive

 relief because it is always in the public interest to prevent violation of a party’s

 constitutional rights.” (quoting Miller v. City of Cincinnati, 622 F.3d 524, 540 (6th

 Cir. 2010))).

        Although the public interest is served “by the robust enforcement of

 constitutional rights,” it is also served by ensuring the safety and well-being of

 students on university campuses. Nokes v. Miami Univ., No. 1:17-CV-482, 2017 WL

 3674910, at *14 (S.D. Ohio Aug. 25, 2017) (citing Am. Freedom Def. Initiative v.

 Suburban Mobility Auth. for Reg’l Transp., 698 F.3d 885, 896 (6th Cir. 2012)). This

 factor is neutral. Doe v. Univ. of Cincinnati, 872 F.3d at 407.

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                                       CONCLUSION

        On balance, the aforementioned factors favor an award of preliminary relief.

 Despite Plaintiff’s request for campus-wide changes to the University’s policies and

 procedures on sexual misconduct, the preliminary relief granted here will be limited

 to Plaintiff and the ongoing investigation into his alleged conduct. See Sony/ATV

 Publ’g, LLC v. Marcos, 651 F. App’x 482, 487 (6th Cir. 2016) (internal citations

 omitted) (“A preliminary injunction must be no more burdensome than necessary to

 provide a plaintiff complete relief . . . .”).

        As soon as practicable, the University is hereby ordered to provide Plaintiff

 with the opportunity for a live hearing in accordance with the procedures set forth in

 the Statement of Student Rights and Responsibilities. See Ex. A, Section VI.

 However, to the extent that the Statement authorizes Plaintiff to question Claimant

 directly, the Court revokes that authorization. At the hearing, Plaintiff may engage

 only in circumscribed cross-examination, a process through which he may submit

 questions to the Resolution Officer (“RO”), Resolution Coordinator (“RC”), or

 Student Resolution Panel to be asked of Claimant.3

        Accordingly,


 3
  This procedure has been recommended for the claimant’s wellbeing by the
 Department of Education’s Office for Civil Rights. See Doe v. Univ. of Cincinnati,
 872 F.3d at 403.
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       IT IS ORDERED that Plaintiff’s Motion for Temporary Restraining Order

 and Preliminary Injunction [4] is GRANTED in part and DENIED in part.

       IT IS FURTHER ORDERED that the University provide Plaintiff with the

 procedures set forth in its Statement of Student Rights and Responsibilities,

 excluding the provision in Stage 2, ¶ C, which authorizes the respondent to question

 the complainant directly. At the hearing, Plaintiff may question Claimant through

 the RO, RC, or Student Resolution Panel.

       SO ORDERED.



 Dated: July 6, 2018                          s/Arthur J. Tarnow
                                              Arthur J. Tarnow
                                              United States District Judge



                           CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of the foregoing order was served upon
 each attorney or party of record herein by electronic means or first class U.S. mail
 on July 6, 2018.

                                              s/D. Tofil
                                              Deborah Tofil, Case Manager




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